           Exhibit 76




Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 1 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                     ·

 ·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · ·MIDDLE DISTRICT OF NORTH CAROLINA
 ·2· · · · · · · · · · · · EASTERN DIVISION

 ·3· · · · · ·Civil Action No.:· 1:14-CV-00954-LCB-JLW

 ·4· ·--------------------------------------

 ·5· ·STUDENTS FOR FAIR ADMISSIONS, INC.,

 ·6· · · · Plaintiff,

 ·7· ·vs.

 ·8· ·UNIVERSITY OF NORTH CAROLINA, et al.,

 ·9· · · · Defendants.

 10· ·----------------------------------------

 11

 12· · · · · · · · · · · · ·DEPOSITION OF

 13· · · · · · · · · · · · JARED ROSENBERG

 14· · · · · · · · · · · ·September 14, 2016

 15· · · · · · · · · · · · · ·9:00 a.m.

 16· · · · · · · · ·University of North Carolina

 17· · · · · · · · · · · · 110 Bynum Hall

 18· · · · · · · · · · 222 East Cameron Avenue

 19· · · · · · · · · Chapel Hill, North Carolina

 20

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 23

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 2 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                Page 29

 ·1· ·applications, communicating with them.
 ·2· · · · Q.· ·Does Mr. Hamilton have any
 ·3· ·responsibility for the reading, the review of
 ·4· ·applications?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·It's limited to just records and
 ·7· ·completeness?
 ·8· · · · A.· ·Yes, uh-huh.
 ·9· · · · Q.· ·You've been handed what's been marked as
 10· ·Exhibit 2 for this deposition.· For the record,
 11· ·I'll just note it appears to have a Bates marking
 12· ·of UNC3.
 13· · · · · · ·(Exhibit Number 2 was marked for
 14· ·identification.)
 15· · · · A.· ·Uh-huh.
 16· · · · Q.· ·Do you recognize this?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Okay.· And what is this?
 19· · · · A.· ·This would be an organizational chart
 20· ·for the undergraduate admissions office.
 21· · · · Q.· ·And is there a date on this chart?
 22· · · · A.· ·Yes.
 23· · · · Q.· ·And what is that date?
 24· · · · A.· ·August 2014.
 25· · · · Q.· ·Okay.· So I just want to kind of walk

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 3 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                Page 30

 ·1· ·through this chart a little bit.· You can help me
 ·2· ·out with people's responsibilities and that sort
 ·3· ·of thing.
 ·4· · · · A.· ·Uh-huh.
 ·5· · · · Q.· ·At the very top of the chart we see
 ·6· ·Mr. Farmer.
 ·7· · · · A.· ·Right.
 ·8· · · · Q.· ·He's the senior most university official
 ·9· ·and has direct responsibilities for the admission?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Is he actually in the admissions office,
 12· ·is that where his -- organizationally his position
 13· ·is located?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·And vice provost title.· Wasn't sure if
 16· ·there was a provost office?
 17· · · · A.· ·There is a provost office for the
 18· ·university.
 19· · · · Q.· ·But he's attached to the admissions
 20· ·office?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·And then on this chart, as of
 23· ·August 2014, it looks like he had four people
 24· ·directly reporting to him, if I'm following the
 25· ·dotted lines correctly.· Maybe a few more, but we

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 4 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                Page 31

 ·1· ·can kind of walk through them.· Let's start with
 ·2· ·Barbara Polk.
 ·3· · · · A.· ·Uh-huh.
 ·4· · · · Q.· ·And she's the title of senior associate
 ·5· ·deputy director?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·What are her basic roles in the
 ·8· ·admissions office as of 2014?
 ·9· · · · A.· ·As of 2014, again, primarily she led the
 10· ·evaluation, and she led the evaluation team, and
 11· ·also again, primary liaison for athletics in the
 12· ·office.
 13· · · · Q.· ·It looks like she has a number of
 14· ·reports including you on this chart?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·Okay.· And it includes also, basically,
 17· ·anyone -- strike that.
 18· · · · · · ·Under her, we see your name --
 19· · · · A.· ·Uh-huh.
 20· · · · Q.· ·-- and we see Mr. Perkins who we
 21· ·previously discussed and we see Ms. Kretchmar, and
 22· ·then there's Hilda Stephens, do you see that name?
 23· · · · A.· ·Uh-huh.
 24· · · · Q.· ·Who is --
 25· · · · · · ·MR. SCUDDER:· Make sure you answer

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 5 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                Page 45

 ·1· · ·families, students who have out-of-state
 ·2· · ·addresses, may have just recently moved here.
 ·3· · · · · Q.· ·And what is -- as a general matter, how
 ·4· · ·does the office treat in-state versus out-of-state
 ·5· · ·applicants?
 ·6· · · · · · · ·MR. SCUDDER:· Object to the form.
 ·7· · · · · A.· ·Can you define "treat"?
 ·8· ·BY MR. STRAWBRIDGE:
 ·9· · · · · Q.· ·Do out-of-state applicants generally pay
 10· · ·for in tuition than in-state applicants?
 11· · · · · A.· ·Yes.
 12· · · · · Q.· ·Is there a limit on the number of
 13· · ·out-of-state applicants that the university will
 14· · ·admit in a given year?
 15· · · · · A.· ·Yes.
 16· · · · · Q.· ·What is that limit?
 17· · · · · A.· ·There's not a particular number.
 18· · · · · Q.· ·Okay.· What -- so what you understand
 19· · ·the limit to be?
 20· · · · · A.· ·The limit is -- the limit is the number
 21· · ·of students that we can admit to yield us a class
 22· · ·that doesn't go more than 18 percent out-of-state.
 23· · · · · Q.· ·Okay.· So it's an enrollment limit as
 24· · ·opposed to an admission limit?
 25· · · · · A.· ·Correct.

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 6 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016                Page 95

 ·1· · ·possible.
 ·2· ·BY MR. STRAWBRIDGE:
 ·3· · · · · Q.· ·Do you know whether -- well, strike
 ·4· · ·that.
 ·5· · · · · · · ·Are you familiar with the term
 ·6· · ·"underrepresented minority"?
 ·7· · · · · A.· ·Yes.
 ·8· · · · · Q.· ·Does that term have a meaning within the
 ·9· · ·admissions office in your experience?
 10· · · · · A.· ·Yes.
 11· · · · · Q.· ·Okay.· And what does that term refer to?
 12· · · · · A.· ·Underrepresented minority would
 13· · ·typically be a student who's not Caucasian or
 14· · ·Asian, so it refers to other groups, other ethnic
 15· · ·and demographic groups.
 16· · · · · Q.· ·Okay.· And is underrepresented minority
 17· · ·typically a term used to describe any recruitment
 18· · ·of non-Caucasian or non-Asian students?
 19· · · · · A.· ·Yeah, it's used.
 20· · · · · Q.· ·So outside of communications with
 21· · ·organizations, are you aware of any communications
 22· · ·that people in the UNC office have had regarding
 23· · ·their recruitment efforts of underrepresented
 24· · ·minority with anyone outside the office, not just
 25· · ·organizations?

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 7 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 143

 ·1· ·for -- what is the rating program referred to on
 ·2· ·that?
 ·3· · · · A.· ·So, actually, you're reading it wrong.
 ·4· ·So it's "Discuss, practice and rating."
 ·5· · · · · · ·Program performance -- program is
 ·6· ·something we rate, performance is something we
 ·7· ·rate.· It's not referring to a rating program
 ·8· ·overall.
 ·9· · · · · · ·So we do rate a student's program, which
 10· ·is their curriculum difficulty.· We rate their
 11· ·performance, which would be grades.· We rate their
 12· ·extracurriculars and we rate their essays, and we
 13· ·also rate for personal qualities.
 14· · · · Q.· ·Okay.· Are those separate ratings for
 15· ·each of those categories?
 16· · · · A.· ·The student gets five distinct ratings,
 17· ·one for each of the five categories.
 18· · · · Q.· ·Is there a combined rating --
 19· · · · A.· ·No.
 20· · · · Q.· ·Just five.· And how are those ratings
 21· ·communicated?· What is the rating scale?
 22· · · · A.· ·So for program performance and
 23· ·extracurriculars, a student is rated on a scale of
 24· ·1 to 10.· 10 being the highest rating you can get.
 25· · · · · · ·For essays and the personal qualities,

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 8 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 144

 ·1· ·it's a 1, 3, 5, 7, 10 scale.· A 10 being the
 ·2· ·highest you can get.· It doesn't have as many sort
 ·3· ·of distinctions.
 ·4· · · · Q.· ·Okay.· So the difference between the
 ·5· ·essays and the personal, I guess, is there's more
 ·6· ·grades that you could technically receive on the
 ·7· ·other categories?
 ·8· · · · A.· ·Yeah.· The first three, you could get a
 ·9· ·1, 2, 3, 4, 5, 6, 7, 8, 9, 10, and on essays and
 10· ·personal qualities, it's just 1, 3, 5, 7, 10,
 11· ·which is, basically, average, above average, below
 12· ·average.
 13· · · · Q.· ·No fractions?
 14· · · · A.· ·No.
 15· · · · Q.· ·No pluses or minuses?
 16· · · · A.· ·No.
 17· · · · Q.· ·Okay.· And each reader assigns that
 18· ·rating for each of those categories?
 19· · · · A.· ·The first reader, yeah.
 20· · · · Q.· ·What about the second readers?
 21· · · · A.· ·Second readers, if we're in a training
 22· ·process, we'll sometimes recommend corrections to
 23· ·it for new readers if they're not quite
 24· ·calibrated, and at any time a second reading who's
 25· ·reading an applicant, if they fully disagree with

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   Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 9 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 167

 ·1· · ·second reads?
 ·2· · · · · A.· ·Yes.
 ·3· · · · · · · ·MR. STRAWBRIDGE:· All right.· I think
 ·4· · · · · why don't we break there.· I think that's a
 ·5· · · · · good stopping point.
 ·6· · · · · · · ·(A lunch recess was taken from 12:07 to
 ·7· · · · · 12:51 p.m.)
 ·8· ·BY MR. STRAWBRIDGE:
 ·9· · · · · Q.· ·Mr. Rosenberg, let me just ask a couple
 10· · ·follow-up questions about the stuff we were
 11· · ·talking about before lunch.· We were talking a
 12· · ·little bit about how the profile scores and
 13· · ·recommendations are marked on the summary sheet,
 14· · ·which I think you said people add comments and
 15· · ·gets increasingly longer.
 16· · · · · · · ·What else shows up on the summary sheet,
 17· · ·if you're sitting there looking at it, what
 18· · ·information is displayed on the summary sheet?
 19· · · · · A.· ·So at the top of the summary sheet would
 20· · ·be basic information about the applicant name,
 21· · ·address, telephone number.· It includes what major
 22· · ·they've put down that they might be interested in.
 23· · ·It will list if they're first year or transfer.
 24· · ·It will list which deadline they applied under or
 25· · ·are they a regular.· It will include if they're an

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 10 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 168

 ·1· ·alum or not an alum.· It will include if they've
 ·2· ·had a fee waiver or not fee waiver.· Their
 ·3· ·ethnicity will be there as well.· It will have --
 ·4· ·it will also give us the official test scores that
 ·5· ·the student has.· It will list their high school,
 ·6· ·their high school rank -- excuse me -- we enter in
 ·7· ·GPA rank information that we have on the
 ·8· ·transcript, we'll enter that in.· It will also --
 ·9· ·and then it shows who the first reader application
 10· ·is, who --
 11· · · · Q.· ·Just let me pause real quick.· All the
 12· ·information you just said, is that automatically
 13· ·populated from the Common App?
 14· · · · A.· ·Yes.· It's -- it's populated -- yes, is
 15· ·the answer, it's populated from the Common App.
 16· ·We download the Common App information and import
 17· ·it into Connect.· It's all Common App information
 18· ·and some of it is built-in intelligence, so if a
 19· ·student lists UNC Chapel Hill for parents'
 20· ·college, it will automatically populate alum:
 21· ·"Yes, alum."
 22· · · · · · ·It has residency on them, whether
 23· ·resident or nonresidents, and the other part
 24· ·besides ratings and comments is along the
 25· ·right-hand side.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 11 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 169

 ·1· · · · · · ·There are nomination boxes, so if you
 ·2· ·want to nominate them for scholarships, for Excel,
 ·3· ·if there's a Dean of Students issues, there's a
 ·4· ·box you can check to make markers on an
 ·5· ·application to put a category on it so they can be
 ·6· ·queried later.
 ·7· · · · Q.· ·And then you said there's a place to
 ·8· ·fill out the profile or the scoring or each of
 ·9· ·the --
 10· · · · A.· ·It's a drop-down menu, so you have five
 11· ·ratings.· It's a drop-down menu, and then there's
 12· ·a line next to it if you want to write a little
 13· ·bit of text about it.
 14· · · · Q.· ·And then is there a place for sort of
 15· ·general comments?
 16· · · · A.· ·Yes.· There's also a general comment box
 17· ·and that's basically where you formulate your
 18· ·decision.
 19· · · · Q.· ·Okay.· And then -- and then there's a
 20· ·separate box that actually captures the admit or
 21· ·the recommendation to admit?
 22· · · · A.· ·Yes.· So there's a box to recommend a
 23· ·decision with each name, so if I'm the first
 24· ·reader on a file, you'll see my name.· It will say
 25· ·evaluator one.· I will have picked five ratings

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 12 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 170

 ·1· ·and written comments, and I will put in my
 ·2· ·recommendation for a decision.· If that's the only
 ·3· ·reader on that application, I'll also take that
 ·4· ·decision to put it in the bottom.
 ·5· · · · · · ·At the bottom, there's a red field where
 ·6· ·you put in the decision.· That's the actual
 ·7· ·decision that would get released to the student
 ·8· ·once we release it.· If I send it for a second
 ·9· ·read, I would do it electronically.· A new box
 10· ·would be created with a new name.· There's no new
 11· ·ratings.· That person just puts their comments and
 12· ·their recommended decision, and then at that
 13· ·point, their recommended decision becomes the
 14· ·decision in the red box until we do our decision
 15· ·review, if anything's changed.
 16· · · · Q.· ·And you said the second reader can
 17· ·adjust the profile ratings, for example, if they
 18· ·feel that it's necessary?
 19· · · · A.· ·Yes.· We'll instruct them that if --
 20· ·they can change it if they're way off, if it's
 21· ·between a 5 and a 6, and you're going 6, and
 22· ·you're going 5, we don't split hairs about it.
 23· · · · · · ·But if you feel calibrated it's more 8
 24· ·or 9 and they're putting a 5, they will change it.
 25· ·The second readers are the most experienced group

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 13 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 175

 ·1· ·the person's reporting to, but Michael and I talk
 ·2· ·all the time, so --
 ·3· · · · Q.· ·Is Reading Tips referring to something
 ·4· ·particular in that bullet point we were looking at
 ·5· ·earlier?
 ·6· · · · A.· ·Oh, Reading Tips would typically
 ·7· ·amount -- it's kind of -- usually, I'll have newer
 ·8· ·readers who have just gone through this process in
 ·9· ·the last year or two.· Just give them tips to be
 10· ·successful in reading.· That's all -- that's all
 11· ·that refers to, about keeping up and making sure
 12· ·certain things to pay attention to, you know, the
 13· ·calendar, things like that.· They'll provide tips,
 14· ·but that's more off the cuff, it's not anything
 15· ·formal.
 16· · · · Q.· ·And then there's a reference to School
 17· ·Group Review; do you see that?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·What is School Group Review?
 20· · · · A.· ·School Group Review is -- School Group
 21· ·Review or Decision Review -- they're used
 22· ·interchangeably, I think, in our office -- that is
 23· ·a review that takes place at the end of each
 24· ·deadline before we release decisions.
 25· · · · Q.· ·And to back up a little bit, there are

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 14 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 176

 ·1· ·two admissions cycles in a given year.
 ·2· · · · A.· ·There's three if you count transfers.
 ·3· ·There's two freshman and one transfer.
 ·4· · · · Q.· ·All right.· And there's an early action
 ·5· ·and then a regular decision --
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·-- for the freshman?
 ·8· · · · A.· ·Yes.· Early action and regular decision,
 ·9· ·and then we have one transfer deadline.
 10· · · · Q.· ·And where does the transfer deadline
 11· ·fall with respect to the other two?
 12· · · · A.· ·Transfer deadline is February 15 and we
 13· ·release those decisions.· It's in mid April.
 14· · · · Q.· ·What about early action?
 15· · · · A.· ·Early action deadline is October 15.· We
 16· ·usually release the last week of January.
 17· · · · Q.· ·And regular decision?
 18· · · · A.· ·Regular decision, the deadline is
 19· ·January 15, and we release typically the last week
 20· ·of March.
 21· · · · Q.· ·Okay.· If you are -- if you put in for
 22· ·early action, do you get a yes or a no, or is
 23· ·there a deferral process in the early action?
 24· · · · A.· ·There is a deferral process.
 25· · · · Q.· ·And are those deferrals then acted upon

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 15 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 177

 ·1· ·during the regular decision calendar?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·Is the -- is anything about the
 ·4· ·admissions process we just discussed in terms of
 ·5· ·the mechanics of the process and the way that
 ·6· ·files are read and recommended and ultimately
 ·7· ·decided upon, is there any difference with respect
 ·8· ·to those cycles other than obviously the times of
 ·9· ·the decision?
 10· · · · A.· ·You mean do the applications flow the
 11· ·same way?
 12· · · · Q.· ·That's my question.
 13· · · · A.· ·Yes.
 14· · · · Q.· ·Okay.· Including for transfer
 15· ·applicants?
 16· · · · A.· ·Yes.· But not all readers read transfers
 17· ·because we don't need everyone to read them.
 18· · · · Q.· ·It's a smaller batch?
 19· · · · A.· ·It's a group of about a dozen to 15
 20· ·readers, rather than 30 to 33 that might be
 21· ·reading freshman.
 22· · · · Q.· ·All right.· So -- so for -- there's a
 23· ·school group review or a decision review process
 24· ·for each of those cycles that you just mentioned?
 25· · · · A.· ·Yes.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 16 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 178

 ·1· · · · Q.· ·Okay.· So can you describe what's
 ·2· ·entailed with the School Group Review?
 ·3· · · · A.· ·Sure.· The School Group Review takes
 ·4· ·place over about a three-week period at the end of
 ·5· ·each deadline, so it's built into our reading
 ·6· ·calendar.· So, typically, individual reviews of
 ·7· ·applications are due by a certain time, and
 ·8· ·typically, that time is at least three -- three to
 ·9· ·four weeks before we actually will release
 10· ·decisions.
 11· · · · · · ·The School Group Review is a review of
 12· ·our overall decision process -- our overall
 13· ·decision group.· And, typically, what will happen
 14· ·is Jen Kretchmar will run projections for us and
 15· ·she'll sort of go over the entire group, if you
 16· ·will.· She'll look at how many admits we have, how
 17· ·many defers we have.· She'll separate that by
 18· ·residency.· And we'll also look at how many
 19· ·applications may still be read for that deadline.
 20· ·We have some that might be late completers, so
 21· ·there might be some still holding on, and project
 22· ·the rate that those may be admitted.
 23· · · · · · ·And, basically, the end result is to
 24· ·say, we're over- or under admitted.· And it varies
 25· ·from in-state and out-of-state, so it might be

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 17 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 179

 ·1· ·that we're right where we need to be in-state and
 ·2· ·over admitted by 200 out-of-state and we need to
 ·3· ·pull back those decisions.
 ·4· · · · Q.· ·In your experience in the admissions
 ·5· ·office, is there a tendency to have over admitted
 ·6· ·or under admitted?
 ·7· · · · A.· ·There's been a tendency -- the long-term
 ·8· ·trend, the tendency is to over admit the
 ·9· ·out-of-state because there's so few spaces for
 10· ·out-of-state, and those applicants are so stellar,
 11· ·that it's hard to say no to some of them, so we --
 12· ·that's the tendency.
 13· · · · · · ·In-state it kind of flows up and down.
 14· ·Sometimes we have room to pull up, sometimes we'll
 15· ·have to pull down.· It varies from deadline to
 16· ·deadline and year to year, so --
 17· · · · Q.· ·What's the source of the name of this,
 18· ·the School Group Review?
 19· · · · A.· ·Sure.· So when we review the decisions,
 20· ·there's two goals in mind.· One is to shift a
 21· ·batch of decisions to get us to the overall target
 22· ·number of admits and the other is to maintain some
 23· ·consistency within schools and to look for any
 24· ·errors that have been made by readers, so just
 25· ·human error.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 18 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 180

 ·1· · · · · · ·So what will happen is, if we go to --
 ·2· ·let's say we're in the In-state School Group
 ·3· ·Review, we will go ahead and we will -- if the
 ·4· ·idea is that we have to -- I don't know -- pull
 ·5· ·back 100 decisions.· So let's say we've over
 ·6· ·admitted by 100 and we're going to go and look for
 ·7· ·100 to pull back, we'll do it by school.· So we'll
 ·8· ·look at each school's decisions individually, and
 ·9· ·we will look for decisions that we may be able to
 10· ·change within the context of that school, and we
 11· ·will also look for any errors that might have been
 12· ·made.
 13· · · · · · ·For example, the number one kid in the
 14· ·class, with stellar marks was denied, and you go
 15· ·in and look and realize it's human error.
 16· ·Somebody typed in the wrong decision.
 17· · · · · · ·But for the most part, we'll adjust
 18· ·decisions accordingly within a school.· We simply
 19· ·want to be able to discuss them with counselors if
 20· ·they call.· It's not -- we don't admit, admit,
 21· ·admit, and then suddenly change to wait list or
 22· ·defer and then deny.· It's never that easy or neat
 23· ·looking.· But it does give our senior group a
 24· ·chance to go through decisions and make sure we're
 25· ·comfortable with what we've done and we'll adjust

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 19 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 181

 ·1· · ·decisions as we go along.
 ·2· · · · · Q.· ·Is it batched by school for the sake of
 ·3· · ·convenience or because those are the people who
 ·4· · ·are going to have direct knowledge of one another
 ·5· · ·and you're more likely to call their counselor?
 ·6· · · · · · · ·MR. SCUDDER:· Object to the form.
 ·7· · · · · A.· ·It is -- it's really more so for
 ·8· · ·consistency.· So if you have a large high
 ·9· · ·school -- well, it doesn't have to be large, if
 10· · ·you just have a high school in North Carolina,
 11· · ·let's say, and we have 60 applicants from that
 12· · ·high school, we want to be able to look at those
 13· · ·decisions and if a counselor were to call and say,
 14· · ·"Why did David get in but John didn't?" we want to
 15· · ·be able to look at that and go, "Let me explain to
 16· · ·you what the subtle differences were," versus, "I
 17· · ·don't know.· Why did we not admit David?"
 18· · · · · · · ·So we will look at it within a school
 19· · ·and we will make some adjustments for consistency
 20· · ·as well.· So we want to make sure that we have
 21· · ·read everyone fairly within the context of their
 22· · ·school environment with, sometimes, an over
 23· · ·arching goal of looking to pull people up or pull
 24· · ·people down.
 25· ·BY MR. STRAWBRIDGE:

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 20 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 182

 ·1· · · · Q.· ·And when you're trying to decide when
 ·2· ·to -- when to pull people up and pull people down
 ·3· ·in a school group, for example, do you tend to
 ·4· ·start at the least academically accomplished in
 ·5· ·each high school in terms of who you might at
 ·6· ·least first consider dropping?
 ·7· · · · A.· ·I can't speak for the way everybody
 ·8· ·might go through it.· Again, this is just the Tier
 ·9· ·2 group that would do this, the second readers.                                I
 10· ·actually -- I go student by student like this,
 11· ·just straight down the page.· They're typically
 12· ·sorted by GPA.· And so, typically, you're going to
 13· ·have the strongest students first, and it might be
 14· ·three or four pages long, but I just go line by
 15· ·line like this as I'm looking at students.
 16· · · · Q.· ·So you start from the top and work your
 17· ·way down?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·But when -- in a typical case where
 20· ·you're trying to trim students, more often than
 21· ·not, are you trimming from the bottom up?
 22· · · · A.· ·Yeah.· More often than not, as you start
 23· ·to see the decisions mixing a bit, you know, there
 24· ·are some schools where it's really clearly
 25· ·everyone's admitted in the first two pages, and

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 21 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 183

 ·1· ·you get to the third or fourth page and the
 ·2· ·decisions start to mix a little bit.· Yes, I think
 ·3· ·at that point, those are some of the students I'll
 ·4· ·initially highlight to go back and look at later.
 ·5· · · · Q.· ·So what -- so you said they're sorted by
 ·6· ·GPA --
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·-- within a given school group?
 ·9· · · · A.· ·Right.· If you print that out, it will
 10· ·be sorted by GPA.
 11· · · · Q.· ·What else is displayed in the school
 12· ·group review report?
 13· · · · A.· ·So we display GPA.· We display rank, if
 14· ·one exists.· We display -- the student's name is
 15· ·there.· We have whether they are in-state or
 16· ·out-of-state, whether they are alum or not alum.
 17· ·We have -- a recruiting category can appear so we
 18· ·would know if it's an athlete or not an athlete.
 19· ·We would know if they're a first generation
 20· ·college student.· We would know their five ratings
 21· ·we've given them.· We would have their official
 22· ·test scores listed, and the current decision
 23· ·that's listed right now on their eval summary.
 24· · · · Q.· ·And you said that Ms. Kretchmar --
 25· · · · A.· ·Kretchmar.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 22 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 186

 ·1· · · · Q.· ·Is there information on ethnicity in
 ·2· ·school group report?
 ·3· · · · A.· ·Ethnicity, no.
 ·4· · · · Q.· ·Or race?
 ·5· · · · A.· ·No.· On the school group report, no.
 ·6· · · · Q.· ·Did there used to be information about
 ·7· ·race on the school group report?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·When was that changed?
 10· · · · A.· ·I don't remember the exact year, but it
 11· ·was probably three or four years ago that it was
 12· ·changed.
 13· · · · Q.· ·Do you know why it was changed?
 14· · · · A.· ·I think it was changed after the Office
 15· ·of Civil Rights request -- complaint.
 16· · · · Q.· ·At any point in the decision review
 17· ·process is the race or ethnicity of the applicant
 18· ·available to the second reader or the review
 19· ·group, I should say?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·And how is that available?
 22· · · · A.· ·Because any applicant we decide to click
 23· ·in and look at, we're looking right at their eval
 24· ·summary sheet again and their race and all the
 25· ·other data I told you about would be up there.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 23 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 187

 ·1· · · · · Q.· ·One link away?
 ·2· · · · · A.· ·You just click on the name.· The toolkit
 ·3· · ·itself for the school group, there's a PDF
 ·4· · ·printout.· But once you go into one name, you can
 ·5· · ·bring up an electronic version of it, and you just
 ·6· · ·click on the name and it opens it up.
 ·7· · · · · Q.· ·Is that a piece of information that you
 ·8· · ·have had occasion to look at when you were doing a
 ·9· · ·School Group Review before?
 10· · · · · A.· ·Yes.
 11· · · · · Q.· ·And to what purpose?
 12· · · · · · · ·MR. SCUDDER:· Objection.
 13· · · · · A.· ·The -- in terms of what purpose would I
 14· · ·be looking at the ethnicity?
 15· ·BY MR. STRAWBRIDGE:
 16· · · · · Q.· ·Yes.
 17· · · · · A.· ·Again, part of the entire review process
 18· · ·and it's a factor that we can consider, just like
 19· · ·I'll be looking at whether they're first
 20· · ·generation college, whether they're fee waiver
 21· · ·students, and reading the ratings and comments
 22· · ·that other readers have provided.
 23· · · · · Q.· ·Prior to decisions being released
 24· · ·publicly in any given cycle, what steps, if any,
 25· · ·are taken to determine the racial composition of

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 24 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 223

 ·1· ·create a diverse population and we want there to
 ·2· ·be enough of a diverse population to make a
 ·3· ·positive difference.
 ·4· · · · Q.· ·Is it a goal in any given year to attain
 ·5· ·critical mass of underrepresented minorities on
 ·6· ·campus?
 ·7· · · · A.· ·It's been mentioned in some of the
 ·8· ·documents before about reaching critical mass.
 ·9· ·It's not a term we really use much in our office.
 10· ·But I've seen it before used as a goal, if you
 11· ·will.
 12· · · · Q.· ·Do you have any understanding how the
 13· ·critical mass goal would actually be measured or
 14· ·determined to have been satisfied by the
 15· ·admissions office?
 16· · · · A.· ·No.· You'd have to ask Steve Farmer.
 17· · · · Q.· ·Do you know if anyone else is involved
 18· ·in trying to determine when the critical mass goal
 19· ·has been met?
 20· · · · A.· ·You would have to ask Steve Farmer or
 21· ·others that he works with.
 22· · · · Q.· ·Have you ever discussed or been a party
 23· ·to discussions about whether or not race should
 24· ·cease being a factor used for the admissions
 25· ·process at the University of North Carolina?

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 25 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 250

 ·1· ·initially that would be for PQ.
 ·2· · · · Q.· ·In your experience, is the essay -- the
 ·3· ·subject of the essay the primary source of
 ·4· ·information you use to provide the PQ rating?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·What is the primary source?
 ·7· · · · A.· ·Well, I don't know that there is a
 ·8· ·primary source.· We certainly will use what we
 ·9· ·learned in the essay to help us with that, but we
 10· ·also have letters of recommendation from teachers
 11· ·and counselors, and that can also help us make a
 12· ·PQ rating.
 13· · · · Q.· ·And to the extent that someone's
 14· ·ethnicity was determined to be a factor in favor
 15· ·of their admission, that would be captured in the
 16· ·PQ score?
 17· · · · A.· ·You're asking me if it's specifically
 18· ·a -- if it was a factor in their admission?
 19· · · · Q.· ·If ethnicity is one of the factors --
 20· · · · A.· ·Right.
 21· · · · Q.· ·-- that UNC considers with respect to
 22· ·their applicants?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·And as a factor, it's sometimes a factor
 25· ·that can weigh in favor of admission?

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 26 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 251

 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·And if it was factor that was going to
 ·3· ·weigh in favor of an admission, is PQ where it
 ·4· ·might manifest itself in the rating system?
 ·5· · · · A.· ·Potentially, yes.
 ·6· · · · Q.· ·Is there anywhere else where it would
 ·7· ·manifest itself in the system?
 ·8· · · · A.· ·No, I don't believe so.
 ·9· · · · Q.· ·Of course, the ultimate decision to
 10· ·admit is not necessarily tied to the ratings, so
 11· ·it could also be a separate consideration, like
 12· ·SAT score, that helps make the ultimate admit
 13· ·decision?
 14· · · · A.· ·One of many factors that we consider
 15· ·when making an admissions decision.
 16· · · · Q.· ·Do you guys do any analysis of how --
 17· ·how the ratings correspond to the ultimate admit,
 18· ·deny, or wait list decision?
 19· · · · A.· ·I do know that Jen Kretchmar will run
 20· ·averages for the ratings, and she has a time -- I
 21· ·forget when it was, might be over the summer, but
 22· ·she'll run them so we can see, you know, the
 23· ·average performance rating for in-state admits was
 24· ·a 7.9, something along those lines.· She'll do the
 25· ·same for program and the other rating scales.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 27 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 271

 ·1· · ·that be critical mass?
 ·2· · · · · · · ·MR. SCUDDER:· Objection.
 ·3· · · · · A.· ·I don't know if that would be seen as a
 ·4· · ·critical mass.
 ·5· ·BY MR. STRAWBRIDGE:
 ·6· · · · · Q.· ·Can you provide, today, any definition
 ·7· · ·of critical mass?
 ·8· · · · · · · ·MR. SCUDDER:· Objection.
 ·9· · · · · A.· ·Again -- again, critical mass would be
 10· · ·having a diverse population in terms of having
 11· · ·underrepresented groups represented in our
 12· · ·population to a point that everyone benefits from
 13· · ·that diverse population.
 14· ·BY MR. STRAWBRIDGE:
 15· · · · · Q.· ·But you can't provide any more
 16· · ·specificity with respect to what would be
 17· · ·sufficient critical mass?
 18· · · · · · · ·MR. SCUDDER:· Objection.
 19· · · · · A.· ·We've never defined critical mass by a
 20· · ·number or a range in our office.
 21· ·BY MR. STRAWBRIDGE:
 22· · · · · Q.· ·Has there ever been any discussion
 23· · ·within your office that critical mass has been
 24· · ·reached with respect to any ethnic group?
 25· · · · · · · ·MR. SCUDDER:· Objection.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 28 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 272

 ·1· · · · · A.· ·No, I don't believe we've had that
 ·2· · ·conversation.· I can't recall that ever coming up.
 ·3· ·BY MR. STRAWBRIDGE:
 ·4· · · · · Q.· ·You testified you recalled a discussion
 ·5· · ·at the Faculty Advisory Committee that critical
 ·6· · ·mass -- I'm sorry, that a race-neutral admissions
 ·7· · ·policy would result in less diversity than the
 ·8· · ·current system at UNC?
 ·9· · · · · A.· ·Yes.· That was something that Jen
 10· · ·presented on faculty advisory.
 11· · · · · Q.· ·If a race-neutral alternative was shown
 12· · ·to achieve the same or greater diversity than the
 13· · ·current use of race, do you believe that's
 14· · ·something that UNC should consider adopting?
 15· · · · · · · ·MR. SCUDDER:· Objection.
 16· · · · · A.· ·You would have to ask Steve what his
 17· · ·opinion on it would be.· I like the way the review
 18· · ·holistically, looking at the whole person without
 19· · ·a particular target in mind for any one group.
 20· ·BY MR. STRAWBRIDGE:
 21· · · · · Q.· ·Even when that includes a person's skin
 22· · ·color?
 23· · · · · · · ·MR. SCUDDER:· Objection.
 24· · · · · A.· ·I would like to see us be able review
 25· · ·every aspect of an applicant when making a

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 29 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 294

 ·1· · · · A.· ·Not specifically, because we've had
 ·2· ·different leadership in the recruitment for the
 ·3· ·last couple of years.· So this is not a specific
 ·4· ·document that I remember seeing the year before
 ·5· ·Michael was here or when Andrea was here.· I don't
 ·6· ·know that one wasn't produced, but I didn't see
 ·7· ·it.
 ·8· · · · Q.· ·Okay.· And who would use this document?
 ·9· · · · A.· ·This document would be used by the
 10· ·leadership group, and really, would be presented
 11· ·to the entire recruitment staff to understand what
 12· ·our goals are and what we're looking to do over
 13· ·the next -- I guess in this case, six months.
 14· · · · Q.· ·And let's talk a little bit about the
 15· ·goals at the top.
 16· · · · A.· ·Uh-huh.
 17· · · · Q.· ·The first says to, Increase market share
 18· ·among key priority demographics that strengthen
 19· ·diversity.
 20· · · · A.· ·Uh-huh.
 21· · · · Q.· ·And the first one is the categories that
 22· ·we've previously been referring to as
 23· ·underrepresented minority groups, right?
 24· · · · A.· ·Yes.
 25· · · · Q.· ·What do you understand market share to

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 30 of 31
STUDENTS FOR FAIR ADMISSIONS, INC. vs. UNIVERSITY OF NORTH CAROLINA, ET AL.
                        Jared Rosenberg on 09/14/2016              Page 295

 ·1· ·refer to?
 ·2· · · · A.· ·Increasing market share, that would mean
 ·3· ·increasing the percentage of those students in our
 ·4· ·applicant pool in terms of having them enrolling
 ·5· ·at the university.
 ·6· · · · Q.· ·And they're referred to as priority
 ·7· ·demographics.
 ·8· · · · A.· ·Uh-huh.
 ·9· · · · Q.· ·And what do you understand priority to
 10· ·mean?
 11· · · · A.· ·Priority demographics would be specific
 12· ·demographics or students in particular demographic
 13· ·backgrounds that we feel would enhance diversity.
 14· ·So these are ones that we tend to talk more about.
 15· · · · · · ·Again, diversity comes in many ways, but
 16· ·this is three particular areas of diversity that
 17· ·we really do want to strengthen.
 18· · · · Q.· ·And there's some targets to increase the
 19· ·number of applications and the yield on this
 20· ·document?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Do you know -- strike that.
 23· · · · · · ·This isn't the plan for the entering the
 24· ·class of fall 2016?
 25· · · · A.· ·Right.

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  Case 1:14-cv-00954-LCB-JLW Document 167-10 Filed 01/18/19 Page 31 of 31
